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                                                                           OFTEXA.S

                    IN THE UNITED STATES DISTRICT OURT
                         NORTHERN DISTRICT OF TEXA               MAY -3 2017
                             FORT WORTH DIVISION
                                                                                 UJRT
BRYAN C. WAGNER,                        §
                                        §                  BY--------------------
                                                                   Deputy
              Plaintiff,                §
                                        §
vs.                                     §   NO. 4:17-CV-276-A
                                        §
NORTHFIELD INSURANCE COMPANY,           §
                                        §
              Defendant.                §


                           FINAL JUDGMENT OF REMAND

        Consistent with the order signed on the date of the signing

of this final judgment,

        The court ORDERS, ADJUDGES, and DECREES that the above-

captioned action wherein plaintiff is Bryan C. Wagner and

defendant is Northfield Insurance Company be, and is hereby,

remanded to the state court from which it was removed.

        SIGNED May 3, 2017.




                                              States
